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10
                              UNITED STATES DISTRICT COURT
11
                         SOUTHERN DISTRICT OF CALIFORNIA
12
     CYWEE GROUP LTD.,                          Case No. 3:17-cv-02130-BEN-RBB
13

14                      Plaintiff,              DEFENDANT ZTE (USA), INC.’S
                                                MEMORANDUM OF POINTS AND
15                                              AUTHORITIES IN SUPPORT OF
                         v.
16                                              UNOPPOSED AMENDED EX PARTE
     ZTE (USA), INC.,                           MOTION TO CONTINUE THE
17                                              EARLY NEUTRAL EVALUATION
18                      Defendant.              CONFERENCE DATE TO
                                                MARCH 28, 2018
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      DEFENDANT POINTS & AUTHORITIES ISO UNOPPOSED EX PARTE MOTION TO CONTINUE ENE DATE
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 1         Defendant ZTE (USA) Inc. (“ZTE”) moves to continue the date of the Early
 2   Neutral Evaluation (“ENE”) Conference, currently scheduled at 2:00pm PST on
 3   February 13, 2018, see ECF No. 26, until 1:30pm PST on Wednesday, March 28,
 4   2018. Plaintiff Cywee Group Ltd. (“Cywee”) does not oppose the instant motion.
 5   See Decl. of S. O’Connell at ¶ 3. ZTE’s original motion to continue the date of the
 6   ENE conference and supporting materials at ECF No. 33 are incorporated herein.
 7         ZTE requests that the date of the ENE conference be continued because the
 8   corporate representative who planned to attend on its behalf is experiencing a medical
 9   issue and must undergo a surgical procedure in Texas on February 13, 2018. See
10   ECF No. 33; see also ECF No. 33-2 at ¶ 2 (Decl. of S. O’Connell). Counsel for
11   Cywee was made aware of this problem almost immediately after counsel for ZTE
12   learned of the situation on Friday, February 9, 2018, and Cywee thereafter canceled
13   its plans to travel to San Diego for the ENE conference scheduled on February 13,
14   2018. See Decl. of S. O’Connell at ¶ 2. The parties have worked together to arrive at
15   a new date for the ENE conference, which is of course subject to the Court’s
16   availability and approval. ECF No. 33-2 at ¶ 2 (Decl. of S. O’Connell). It appears
17   that is March 28, 2018 at 1:30pm PST is the earliest date on which both parties can
18   confirm that their corporate representatives are available to travel to San Diego,
19   California, and that is also available on the Court’s schedule. See Decl. of S.
20   O’Connell at ¶ 3. ZTE therefore requests that the ENE conference be continued to
21   1:30pm PST on Wednesday, March 28, 2018.
22   Dated: February 12, 2018             PILLSBURY WINTHROP SHAW
                                          PITTMAN LLP
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24
                                          /s/ Sara J. O’Connell
25                                By:     SARA J. O’CONNELL
                                          Attorney for Defendant
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                                          ZTE (USA), INC.
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 1                              CERTIFICATE OF SERVICE
 2         The undersigned hereby certifies that a true and correct copy of the above and
 3   foregoing document has been served on February 12, 2018, to all counsel of record
 4   who are deemed to have consented to electronic service via the Court’s CM/ECF
 5   system per Civil Local Rule 5.4. Any other counsel of record will be served by
 6   electronic mail, facsimile, and/or overnight delivery.
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 8
                                               /s/ Sara J. O’Connell
                                               Sara J. O’Connell, Esq.
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